Case 2:22-cv-00146-RJC Document1 Filed 01/25/22 Page 1of7
Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination Eve £ A {

UNITED STATES DISTRICT COURT IS%

for the F4l
Western District of Fen a Syl Va iN [ a

Pittsburgh Division

Case No. 2. 22-cw- [Ab

(to be filled in by the Clerk's Office)

 

Phyllis A. Johnson

 

Plaintiff(si
(Write the ‘i name of each plaintiff who is filing this complain,
If the names of all the plaintiffs cannot fit in the space above,
Blease write “see attached" in the space and attach an additional
page with the full list of names.)

-Y-

Jury Trial: (check one) [_] Yes ove

 

Hittsb urgh Public Schools

 

JAN 25 2022

v Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

CLERK U.S. DISTRICT COURT
WEST. DIST. OF PENNSYLVANIA

Nene Net Nome Ne Nee” Name” Seer Snel” Neer nee Nee yer Nn See “hee”

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

 

 

 

 

needed.
Name ‘Phy te 3 A. Johnson
Street Address gua! bina i caddie. Street
City and County Pit+sburgh _, All egheny Courtty
State and Zip Code PennsylVinia , [52% 14
Telephone Number (42) OWT g bb LA
E-mail Address Jpsi9134@ 4mail. Com

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (ifknown). Attach additional pages if needed.
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Defendant No. 1

Name Pittsburgh Pub lie Schools

Job or Title (if imown, J Public Education

Street Address eS) H | S. Pel le-Cield Avenu ea

City and County Pittsburah , Atleaheny County
State and Zip Code Pennsylvania , 15213 fo
Telephone Number ( AL iz ) 'S 29 —- 1B 57

E-mail Address (if known) P Z h schools. 0 rg

Defendant No. 2
Name
Job or Title Gf known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

 

Defendant No. 3
Name
Job or Title Gf known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

 

 

 

 

 

 

 

Defendant No. 4
Name
Job or Title Gf known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

 

 

 

 

 

 

 
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Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

ae

Name : Hi 44s burgh Weil Elementary School

 

 

 

 

 

Street Address 2250 SC entre Aven ue!
City and County Pitts burg h_, Arlleghe ny County
State and Zip Code Pennsyivania 15214 (
Telephone Number ( iH 2)! 529-3f4hH

il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

O

of

NO O RO

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

#Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act. you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

Other federal law (specify the federal lawi,

 

FEPA Cnir Emplomnent Packie.)

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known}:

 
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Il. Statement of Claim (Attached )

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts @pecisy: Wn Pair Employment Racheces

(Note: Only those grounds raised in the charge'filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
Jederal employment discrimination statutes.)

SOUSOOOO

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
September 2020- Tune ZOZ|
C. I believe that defendant(s) (check one):

iL] is/are still committing these acts against me.
mw is/are not still committing these acts against me.

D. Defendant(s) discriminated against me based on my (check all that apply and explain):

race

 

color

 

gender/sex

 

religion

 

national origin
age (year of birth) q (p 5 (only when asserting a claim of age discrimination.}
disability or perceived disability (specify disability)

 

oxooooo

 

E. The facts of my case are as follows. Attach additional pages if needed.

The replacement teacher Was never veauired +o perform
the cuties T Was reauired +0 eo, even though She was
a. Veteran teacher With +w enty OY More. Years EXPerience .
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TW. Statement of Claim

During the 2020-2021 school year, I was the only 3rd Grade Teacher at Pittsburgh Weil
Elementary School (Pittsburgh Public Schools). This was a self-contained on-line classroom. |
was required to teach all subjects, (Reading, English, Spelling, Handwriting, Math, and Social
Studies). There was never an offer to have additional teachers in the classroom to assist with
teaching any of these subjects. I then decided to take a leave (FMLA), through December 2020,
utilizing Sick Days that I had accumulated throughout my tenure with the school district. I later
decided to resign from my position effective January 2021.

Mrs. Paolino, a veteran teacher with 20 years of teaching experience, was assigned to teach my
3rd Grade class. During a conversation I had with her at the end of the school year, she verified
that she had not been required to teach all of the subjects mentioned above. She was only
required to teach Reading/Language Arts, even though she had taught in a self-contained
classroom before, that required her to teach Math, for many years. The teaching arrangement that
was made for her included two additional teachers in the classroom, for the entire school year.
Ms. Gruber, the K-2 Special Education teacher, taught Math for the year, and Mrs. Burkes, the
Science Teacher, taught Social Studies for the year. As I have stated, this arrangement was
never discussed, nor was it offered to me, while I was the 3rd Grade Teacher.

P. Johnson

January 24, 2022
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Charges filed withthe EEOC are attached.

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

September 15, 2021

B. The Equal Employment Opportunity Commission (check one):
Cl, has not issued a Notice of Right to Sue letter.

issued a Notice of Right to Sue letter, which I received on (date) j b / Vad | | Ab Z| .
(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Emplovmeni
Opportunity Commission to this complaint.)

©. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

uw 60 days or more have elapsed.
LC] less than 60 days have elapsed.

V. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

The Court ia being asked +o order olamages totaling Fo coo?
The basis Por Hus amount is derived from loss wages
cluring he Period of Tarwary —June ZOZI, 1055 Of Sick.

+Hme ‘pay Not Compensated for and tre Cost of healthlare .
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VI.

Vv, Relief

Dee. Previous Page for explanation pnfdam ages Soug het:
Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: |

ZH IZOZZ

Signature of Plaintiff PA ull ed OL: SH efhcoorJ
Printed Name of Plaintiff C Pry Us A. Th¥nson
:

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 
